Case 8:05-cr-00297-RAL-MAP Document 71 Filed 11/18/05 Page 1 of 6 PageID 134
Case 8:05-cr-00297-RAL-MAP Document 71 Filed 11/18/05 Page 2 of 6 PageID 135
Case 8:05-cr-00297-RAL-MAP Document 71 Filed 11/18/05 Page 3 of 6 PageID 136
Case 8:05-cr-00297-RAL-MAP Document 71 Filed 11/18/05 Page 4 of 6 PageID 137
Case 8:05-cr-00297-RAL-MAP Document 71 Filed 11/18/05 Page 5 of 6 PageID 138
Case 8:05-cr-00297-RAL-MAP Document 71 Filed 11/18/05 Page 6 of 6 PageID 139
